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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 25-CV-60260-DAMIAN

 GIANNA MICELI,

          Plaintiff,
 v.

 KEVIN FARQUHARSON, et al.,

       Defendants.
 _________________________________________/

            ORDER DENYING MOTION FOR RECUSAL, DISMISSING CASE

          THIS CAUSE came before the Court upon Plaintiff, Gianna Miceli’s, “Addendum

 to Suit at Common-Law with Demand for Recusal and Demand for Constitutional

 Compliance,” filed on March 13, 2025 [ECF Nos. 5 and 6 1 (the “Motion”)]. On February

 13, 2025, this Court noted that Plaintiff’s designated attorney, Scott Bernard, may not

 practice before this Court and ordered Plaintiff to “retain counsel permitted to practice

 before this Court and notify the Court of such, or, alternatively, file a notice of proceeding

 pro se, no later than March 13, 2025.” ECF No. 4. The Court also warned that “[f]ailure to

 comply with the instant order may result in the dismissal of the Complaint without further

 notice.” Id.

          Rather than file a notice of retaining proper counsel or file a notice of proceeding pro

 se, Plaintiff filed the Motion now before the Court. The Motion is replete with ad hominem

 attacks on the undersigned, meritless sovereign citizen theories, 2 and at its conclusion is


 1
  The Clerk of Court appears to have filed the document twice, thus designating it with two
 separate ECF numbers.
 2
     “So-called sovereign citizens believe that as ‘natural humans’ (or sovereigns) they are ‘not
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 signed by “Scott Bernard, Lead Counsel” of “Brookstone Law, PLC”—whom the Court

 previously determined is not authorized to practice law. See generally Mot. The Motion also

 moves for the undersigned’s recusal on the basis that the undersigned is now named as a

 Defendant in the instant case: “The conduct in question and the allegations established

 under the standard of reasonable-articulable suspicion are lodged against Melissa Damian, a

 woman who is one of the people bearing unlimited liability and without protections under

 any immunity afforded by the state.” Mot. at 9.

        Recusal on the basis of a pro se litigant naming the district court judge assigned to a

 case as a defendant in that very lawsuit is inappropriate. See United States v. Greenough, 782

 F.2d 1556, 1558 (11th Cir. 1986) (“Section 455 does not require the judge to accept all

 allegations by the moving party as true. If a party could force recusal of a judge by factual

 allegations, the result would be a virtual ‘open season’ for recusal.” (quoting Phillips v. Joint

 Legislative Com., 637 F.2d 1014 (5th Cir. 1981) (Unit A))); Redford v. Duffey, No. 1:17-cv-580-

 WSD, 2017 WL 11496873, at *1 n.1 (N.D. Ga. June 8, 2017) (adopting the Magistrate



 subject to government authority and employ various tactics in an attempt to among other
 things, avoid paying taxes, extinguish debts, and derail criminal proceedings.’” Young v.
 PNC Bank, N.A., No. 3:16CV298/RV/EMT, 2018 WL 1251920, at *2 (N.D. Fla. Mar. 12,
 2018) (quoting Gravatt v. United States, 100 Fed. Cl. 279, 282 (2011)). Courts have
 consistently rejected such arguments as outlandish, frivolous, and bizarre. See, e.g., United
 States v. Sterling, 738 F.3d 228, 233 n.1 (11th Cir. 2013) (observing that courts routinely
 reject sovereign citizen legal theories as “frivolous”). Here, Plaintiff’s filings bear all the
 hallmarks of the sovereign citizen theory, as alluded to by the designations above.
 Therefore, Plaintiff is warned that, should she choose to re-file a complaint as set out herein
 based on “sovereign citizen” theories, such claims will be deemed frivolous and dismissed
 with prejudice. See, e.g., United States v. Benabe, 654 F.3d 753, 767 (7th Cir. 2011) (noting that
 a court should summarily reject arguments that a person is beyond a court’s jurisdiction
 because he is a “sovereign citizen,” “secured-party creditor,” or “flesh-and-blood human
 being”); see also Muhammad v. Smith, No. 3:13-CV-760 MAD/DEP, 2014 WL 3670609, at
 *2 (N.D.N.Y. July 23, 2014) (observing sovereign citizen arguments have not only been
 rejected by the courts but also recognized as “frivolous” and “a waste of court resources,”
 which are being “paid for by hard-earned tax dollars.” (quoting Barber v. Countrywide Home
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 Judge's report and recommendation that plaintiff's action in which he named the Court as a

 defendant should be dismissed pursuant to 28 U.S.C. § 1915(g) because plaintiff failed to

 pay the filing fee after declining to recuse the Court, in part, because “‘[r]ecusal in these

 circumstances would mean that a litigious pro se party such as the Plaintiff would have an

 effective means to manipulate and needlessly delay the judicial process.’” (quoting Bush v.

 Cheatwood, No. 1:05-cv-2923, 2005 WL 3542484, at *1 (N.D. Ga. Dec. 23, 2005) (alteration

 adopted)); Cameron v. Greenhill, 582 S.W.2d 775, 776 (Tex. 1979) (“To hold that merely

 naming a judge as a party would disqualify him would put power in the hands of litigants to

 frustrate our judicial system.”). Therefore, the undersigned will not recuse herself from this

 case on the grounds asserted.

        The Court previously warned that a failure to comply its Order “may result in the

 dismissal of the Complaint without further notice.” ECF No. 4. Plaintiff failed to obtain an

 attorney licensed to practice before this Court or, alternatively, to file a notice of proceeding

 pro se, and the time for doing so has expired. Therefore, Plaintiff has failed to comply with

 this Court’s Order, and dismissal is warranted. Accordingly, it is hereby

        ORDERED AND ADJUDGED that the Complaint [ECF No. 1] is DISMISSED

 WITHOUT PREJUDICE. The Motion [ECF Nos. 5 and 6] is DENIED.

        Because the Complaint is dismissed without prejudice, Plaintiff may file an amended

 complaint. However, any such amended pleading must conform to this Court’s Orders and

 the applicable Federal and Local Rules, including the requirement that only attorneys

 admitted to practice in the Florida Bar and the Southern District of Florida may act as

 counsel for a party. Any amended pleading must be filed within twenty (20) days of the date



 Loans, Inc., No. 2:09-CV-40-GCM, 2010 WL 398915, at *4 (W.D.N.C. Jan. 25, 2010))).
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 of this Order. If an amended pleading is not filed within that time, the dismissal will be with

 prejudice.

        In the meantime, the Clerk shall CLOSE this case for administrative and statistical

 purposes.

        DONE AND ORDERED in Chambers in the Southern District of Florida this 17th

 day of March, 2025.



                                              _______________________________________
                                              MELISSA DAMIAN
                                              UNITED STATES DISTRICT JUDGE

        Copies to:

        Gianna Miceli and Scott Bernard
        1113 Range Ave., #110-109
        Denham Springs, Louisiana 70726
